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    EXHIBIT 17
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                                                 Ex. 17
                                                 Gulf Response GeoPlatform,
                                                 http://gomex.erma.noaa.gov/erma.html#x=-89.59900&y=29.58779&z=8&layers
                                                 =5723 (clear all layers; select Background Layer “Google Terrain” and BP
                                                 Deepwater Horizon Oil Spill Layer “Wellhead Surface Location”; then choose
                                                 zoom-in level “8”; center map; and click “Legend” tab).
